Information to identify the case:
Debtor          New Mexico Solar Warehouse, LLC, a New Mexico
                Limited Liability Company                                                        EIN 84−3392626
                Name

United States Bankruptcy Court District of New Mexico                                            Date case filed for chapter 7 11/22/21

Case number: 21−11294−t7

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             10/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        New Mexico Solar Warehouse, LLC, a New Mexico Limited Liability Company

2. All other names used in the
   last 8 years
3. Address                                   200 Bendix Drive, Suite B
                                             Taos, NM 87571

4. Debtor's attorney                         Ronald E Holmes                                                      Contact phone 505−268−3999
                                             Davis Miles McGuire Gardner, PLLC                                    Email rholmes@davismiles.com
    Name and address                         320 Gold SW
                                             Suite 1111
                                             Albuquerque, NM 87102

5. Bankruptcy trustee                        Yvette J. Gonzales                                                   Contact phone 505−771−0700
                                             Trustee
    Name and address                         PO Box 1037                                                          Email yjgllc@yahoo.com
                                             Placitas, NM 87043−1037

6. Bankruptcy clerk's office                 Pete V. Domenici U.S. Courthouse                                     Hours open 8:30 AM to 4:00 PM
                                             333 Lomas Blvd. NW, Suite 360
    Documents in this case may be            Albuquerque, NM 87102
    filed at this address. You may                                                                                Contact phone
    inspect all records filed in this case                                                                        505−415−7999/866−291−6805
    at this office or online at
    https://pacer.uscourts.gov.                                                                                   Court Website www.nmb.uscourts.gov

7. Meeting of creditors                      January 5, 2022 at 12:00 PM                                          Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or adjourned to a later date. If        AT THE TIME SHOWN CALL:
    questioned under oath. Creditors         so, the date will be on the court docket.                            1−877−633−8981, Passcode: 4824077,
    may attend, but are not required to                                                                           after joining the call, press *6 to
    do so.                                                                                                        mute/unmute.

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
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